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                              UNITED STATES DISTRICT COURT                                          CLERç U.S.

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                                         WESTERN DISTRICT OF TEXAS


                 Petition for Warrant or Summons for Offender Under Supervision

   Name of Offender:      Trinity Villarreal                               Case Number:       DR:21-CR-00329(02)

   Name of Sentencing Judicial Officer:        Honorable Alia Moses, Chief United States District Judge
   Date of Original Sentence:    September 11, 2023
   Original Offense:      Conspiracy to Transport Illegal Aliens, in violation of 8 U.S.C. § 1324
   Original Sentence:     Twenty-Seven (27) months imprisonment, followed by three (3) years supervised release
 Type of Supervision: Supervised Release                Date Supervision Commenced:        May 6, 2024

   Assistant U.S. Attorney:     Brett Chappy Miner               Defense Attorney:      Dalila Padilla Paxton

                                               PREVIOUS COURT ACTION

None.

                                               PETITIONING THE COURT


     To issue a warrant
     To issue a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:


 Violation Number         Nature of Noncompliance

           1.             Mandatory Condition No. 2: The defendant shall not unlawfully possess a controlled
                          substance.

           2.             Mandatory Condition No. 3: The defendant shall refrain from any unlawful use of a
                          controlled substance. The defendant shall submit to one drug test within 15 days of
                          release on probation or supervised release and at least two periodic drug tests thereafter
                          (as determined by the court), but the condition stated in this paragraph may be
                          ameliorated or suspended by the court if the defendant's presentence report or other
                          reliable sentencing information indicates low risk of future substance abuse by the
                          defendant.

           3.             Special Condition: The defendant shall abstain from the use of alcohol and any and all
                          intoxicants.
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        4.             Snecial Condition: The defendant shall not knowingly purchase, possess, distribute,
                       administer, or otherwise use any psychoactive substances (e.g., synthetic marijuana,
                       bath salts, etc.) that impair a person's physical or mental functioning, whether or not
                       intended for human consumption.

                       On July 9, 2024, Villarreal submitted a urine specimen, yielding positive results for cocaine.
                       On July 12, 2024, the probation officer contacted Villarreal via telephone, and she verbally
                       admitted to consuming cocaine to cope with feelings of mental health and other situational
                       stressors in her life.

        5.             Special Condition: The defendant shall participate in a substance abuse program and
                       follow the rules and regulations of that program. The program shall include testing and
                       examination to determine if the defendant has reverted to the use of drugs and alcohol.
                       The probation officer shall supervise the participation in the program (provider,
                       location, modality, duration, intensity, etc.). The defendant shall pay the costs of such
                       treatment if financially able.

        6.             Special Condition: The defendant shall participate in a mental health treatment
                       program and follow the rules and regulations of that program. The probation officer,
                       in consultation with the treatment provider, shall supervise participation in the
                       program (provider, location, modality, duration, intensity, etc.). The defendant shall
                       pay the costs of such treatment if financially able.

                       On May 13, 2024, Villarreal was referred to an outpatient co-occurring treatment program
                       and placed on a urine collection system to monitor the use of drugs or alcohol. On July 9,
                       2024, she submitted a urine specimen, yielding positive results for cocaine. Therefore,
                       Villarreal failed to follow the rules and regulations of the program.

        7.             Standard Condition No. 4: The defendant shall answer truthfully the questions asked
                       by the probation officer.

                       A San Antonio Police Department Report reflects (#SAPD24159885), on July 24, 2024, at
                       approximately 1:08am, a police officer responded to a "cutting in progress call." The officer
                       contacted the victim and observed a wound to her stomach. The victim reported she and her
                       partner, identified as Trinity Villarreal, were involved in an argument. The victim observed
                       Villarreal with a steak knife in her hand pointed towards Villarreal's stomach. The victim
                       stated she walked towards the kitchen and bumped into Villarreal. The victim stated the
                       wound she sustained was an accident, and reported Villarreal did not intentionally stab her.
                       The officer noted he observed the victim to be intoxicated and had trouble maintaining
                       balance while explaining the events described. The victim was non-compliant when asked to
                       show the officer the knife used and the location of the apartment where the stabbing took
                       place.

                       The officer contacted Villarreal and observed a wound to her stomach area. Villarreal
                       reported to the officer she suffered from mental health issues and became overwhelmed with
                       thoughts in her head. She reportedly grabbed a knife and intentionally pointed it towards her
                       own stomach. Villarreal stated the victim attempted to stop her from stabbing herself. When
                       the victim made contact with Villarreal, Villarreal reacted by flipping the knife around and
                       stabbed the victim unintentionally.
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                         Villarreal was not arrested but instead determined to be a threat to herself and others in
                         relation to a mental health crisis. She was transported to a local hospital for emergency
                         detention, where she was released to hospital staff. At the time this report was prepared,
                         Villarreal remained in custody of the hospital and was given instructions to contact the
                         probation officer upon her release.

                         On the evening of July 24, 2024, Villarreal contacted the probation officer in reference to the
                         reported incident. The probation officer questioned Villarreal regarding details of the
                         incident. She reported she accidentally stabbed her girlfriend (victim). Villarreal stated she
                         was cutting vegetables for dinner when her girlfriend received a phone call. Villarreal stated
                         this upset her and she was pointing the knife at her girlfriend during an argument. Villarreal
                         reported when her girlfriend turned around, she "stuck her with the knife on accident."

                         Based on the details of the incident report, it appears Villarreal did not answer truthfully the
                         questions asked by the probation officer.


U.S. Probation Officer Recommendation: Trinity Villarreal appears to be a danger to herself and to others and required
the need for emergency detention. She has a history of mental health and substance abuse issues, and she was actively
enrolled in outpatient treatment services and receiving psychiatric medications at the time of the incident. Prior to the
emergency detention, Villarreal reportedly used cocaine to cope with mental health issues and situational stressors.

Despite the efforts to assist Villarreal with her mental health, she reverts to drug use and self-harm as a coping
mechanism. Further, it appears she has become a danger to others.

At this time, the probation office recommends a petition for warrant be approved, and a warrant be issued for her arrest.
The present violations are deferred to the Court for ruling.


     The term of supervision should be
        revoked. (Maximum penalty: 2          years imprisonment; 3        years supervised release;
                  and payment of any unsatisfied monetary sanction previously imposed)

     D extended for    years, for a total term   of_ years.
E The conditions of supervision should be modified as follows:



Ap                                                                        Respectfully submitted,


                                                                       IbrJ&JkQdL,O
Arthur R. Galvan                                                          Natalie Balderas
Supervising U.S. Probation Officer                                        Senior U.S. Probation Officer
Telephone: (210)472-6590, Ext. 5315                                       Telephone: (210) 472-6590, Ext. 5339
                                                                          Date: July 26, 2024
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Approved:



pmes T. Ward
Supervisory Assistant U.S. Attorney
City Chief, Del Rio Division

cc:    Joshua Banister
       Deputy City Chief, U.S. Attorney's Office

       Brenda Trejo-Olivarri
       Assistant Deputy Chief U.S. Probation Officer


 THE COURT ORDERS:
 E No         tion.

          ssuance of a WARRANT. Bond is set in the amount of               cash/surety with supervision
                                by the United States Probation Office to continue as a condition of release.
      The issuance of a SUMMONS.
      Other



                                                                           /       Hono Z2i2e"
                                                                                  C ief U.S. District Judge


                                                                                            Date
